                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                           WESTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                              No. CR 10-4083-MWB
 vs.                                          ORDER REGARDING DEFENDANT
                                                 WILLIAMS’S MOTION TO
 ALLEN R. WILLIAMS, SIDNEY
                                                DETERMINE ISSUE OF LAW
 CHARLES, ROBERT MCNAIRY, and
 KEVIN D. MOORE,
              Defendants.
                                ____________________

       This case is before the court on defendant Allen R. Williams’s January 24, 2011,
Motion To Determine Issue of Law (docket no. 189). Defendant Williams seeks a ruling
as a matter of law that the Fair Sentencing Act of 2010 applies to the instant case where
the named defendants are alleged to have committed a crime prior to August 3, 2010, the
effective date of the Fair Sentencing Act, Pub. L. No. 111-220, 124 Stat. 2372 (Aug. 3,
2010) (FSA), but whose case is pending after that date. Defendants Kevin D. Moore and
Sidney Charles filed Responses (docket nos. 196 and 197), joining in defendant Williams’s
motion and asserting that the question he presented was just as applicable to them.
       On January 28, 2011, the prosecution filed a Motion To Amend Superseding
Indictment (docket no. 201), seeking, inter alia, to amend the drug quantity allegedly
involved in the crack cocaine conspiracy in Count 1 from 50 grams or more of crack
cocaine to 28 grams or more of crack cocaine and to alter the period of the alleged
conspiracy from “about January 2010, and continuing through about August 2, 2010,” to
“about January 2010, and continuing through about August 2010.”         The prosecution
represented that the defendants had been apprised of the change and had no objections to




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the amendment. The court allowed the amendment by Order (docket no. 202) dated
January 28, 2011. On January 31, 2011, the prosecution also filed a Response To
Defendants’ Motion(s) To Determine Law Issues, asserting that the amendment to the
Superseding Indictment rendered defendant Williams’s motion “moot.”
       The FSA became effective on August 3, 2010, and the United States Sentencing
Commission promulgated conforming Sentencing Guidelines effective November 1, 2010.
In a series of rulings, the Eighth Circuit Court of Appeals has addressed the applicability
of the FSA to pending cases. See United States v. Smith, ___ F.3d ___, ___, 2011 WL
285056, *3 (8th Cir. Jan. 31, 2011) (the FSA does not apply retroactively to a defendant
whose appeal was pending at the time that the FSA became effective); United States v.
Williams, 2011 WL 167073, *1 (8th Cir. Jan. 20, 2011) (the FSA does not apply
retroactively to a defendant who was sentenced before the Act became effective); United
States v. Spires, ___ F.3d ___, ___, 2011 WL 93826, *5 (8th Cir. Jan. 12, 2011) (where
the FSA was passed after the defendant was sentenced, the defendant was subject to the
penalties in place at the time that he committed the crimes in question); United States v.
Brown, 2010 WL 3958760 (8th Cir. Oct. 12, 2010) (the FSA is not retroactive, so that the
statutory minimum existing at the time the offense was committed governs). Here, the
Superseding Indictment, as amended on January 28, 2011, alleges that the crack cocaine
conspiracy extended beyond the effective date of the FSA and now alleges a quantity of
crack cocaine involved in that offense that conforms to the FSA. Thus, a defendant
convicted of that offense would be subject to both the FSA’s mandatory minimums and the
amended Sentencing Guidelines. The prosecution does not contend otherwise. However,
the defendants ask the court to decide whether the FSA applies to the instant case where
the named defendants are alleged to have committed a crime prior to August 3, 2010, the
effective date of the Fair Sentencing Act. That question now only applies to charges in

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other counts of the Superseding Indictment, which allege criminal conduct completed prior
to the effective date of the FSA. The FSA is not applicable to defendants convicted of
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those other charges. Brown, 2010 WL 3958760. The court takes no position at this time
on what Sentencing Guidelines would be applicable to defendants convicted of those other
charges, which is not a question squarely raised by defendant Williams’s motion and one
that is best deferred until sentencing.
       THEREFORE, defendant Allen R. Williams’s January 24, 2011, Motion To
Determine Issue of Law (docket no. 189) is granted to the extent that the court concludes
that the FSA applies to the crack cocaine conspiracy charge in Count 1 of the Superseding
Indictment, as amended on January 28, 2011; the FSA does not apply to other charges in
the Superseding Indictment allegedly committed prior to the effective date of the FSA; and
the court takes no position on what Sentencing Guidelines would be applicable to
defendants convicted of those other charges.
       IT IS SO ORDERED.
       DATED this 3rd day of February, 2011.


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                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA




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        The court notes that no quantity of crack cocaine is alleged for any of the other
offenses, so that the mandatory minimum sentences applicable either before or after the
FSA became effective are not implicated.

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